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  8                        UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10
      HECTOR ULLOA-NAVARRO,
 11                                               Civ. Case No. 13cv3190 BTM
                         Movant-Defendant,        Crim. Case No.12cr1111 BTM
 12
            v.
 13                                               ORDER DENYING
                                                  28 U.S.C. § 2255 MOTION AND
 14                                               DENYING CERTIFICATE OF
      UNITED STATES OF AMERICA,                   APPEALABILITY
 15
                      Respondent-Plaintiff.
 16
 17        Defendant Hector Ulloa-Navarro has filed a motion to reduce his
 18   sentence under 28 U.S.C. § 2255 (Doc. 264). For the reasons discussed
 19   below, Defendant’s motion is DENIED.
 20
                                   I. BACKGROUND
 21
           On May 16, 2013, pursuant to a Plea Agreement (Doc. 186), Defendant
 22
      tendered a plea of guilty to Count One of the Superceding Indictment
 23
      (knowingly and intentionally conspiring to distribute methamphetamine in
 24
      violation of 21 U.S.C. §§ 841(a)(1), 846). In an order dated July 26, 2013, the
 25
      Court accepted Defendant’s guilty plea. (Doc. 215.)
 26
           On November 27, 2013, Defendant was sentenced to a 37 month term
 27
      of imprisonment and 3 years of supervised release. Judgment was entered on
 28
      November 27, 2013.

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  1                                   II. DISCUSSION
  2         Defendant argues that his sentence should be reduced on the grounds
  3   that (1) the United States Attorney General can suggest a downward departure
  4   if the defendant accepts a final deportation order; and (2) “he faces the
  5   prospect of objectively more severe prison conditions solely because he is a
  6   deportable alien” (Mot. at 4). He also nominally argues that (3) his attorney
  7   was ineffective for failing to advise him of the option of a “fast-track” plea
  8   agreement, and also for (4) failing to request a downward departure on the
  9   basis of aberrant behavior. (Mot. at 4.) Defendant’s arguments lack merit.
 10   A.    Waiver
 11         Defendant is barred from arguing for a reduction of his sentence under
 12   the terms of the Plea Agreement (Doc. 186). The Plea Agreement provided
 13   that the sentence was within the sole discretion of the sentencing judge and
 14   that Defendant understood that he had no right to withdraw the plea even if the
 15   judge did not follow any of the parties’ sentencing recommendations. (Plea
 16   Agreement § IX.) Defendant and the Government agreed to recommend a
 17   base offense level of 28. (Plea Agreement § X, ¶ A.) The parties also agreed
 18   that Defendant qualified for a two-level reduction for playing only a minor role
 19   in the conspiracy pursuant to United States Sentencing Guidelines (“USSG” or
 20   “Guidelines”) § 3B1.2. (Id.) The Government also agreed to recommend a
 21   three-level reduction for acceptance of responsibility, provided Defendant acted
 22   consistently with acceptance of responsibility. (Plea Agreement § X, ¶¶ A, B.)
 23   The parties agreed that neither party would request or recommend any
 24   additional adjustments. (Plea Agreement § X, ¶ C.)
 25         The Plea Agreement further provided that in exchange for the
 26   Government’s concessions in the plea agreement, Defendant “waives, to the
 27   full extent of the law, any right to appeal or to collaterally attack the conviction
 28   and sentence, except a post-conviction collateral attack based on a claim of

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  1   ineffective assistance of counsel, unless the Court imposes a custodial
  2   sentence above the high end of the guideline range recommended by the
  3   Government pursuant to this agreement at the time of sentencing.” (Plea
  4   Agreement § XI) (emphasis added).           At sentencing, the Government
  5   recommended a sentence of 46 months, the low end of the guideline range.
  6   The Court imposed a lower sentence of 37 months. Thus, Defendant is bound
  7   by his waiver in the Plea Agreement.
  8         A waiver of appeal and/or collateral attack of a conviction is enforceable
  9   if knowingly and voluntarily made. United States v. Abarca, 985 F.2d 1012,
 10   1014 (9th Cir. 1993). At the sentencing hearing, the Court confirmed that
 11   Defendant understood that he had waived his right to appeal and collateral
 12   attack. (Hr’g Tr., Doc. 293 at 50.) With the inconsequential exceptions
 13   discussed below, Defendant does not argue that his attorney was ineffective
 14   in advising him regarding the Plea Agreement or that his plea was otherwise
 15   unknowing or involuntary. Defendant has accordingly relinquished his right to
 16   challenge his sentence through collateral attack.
 17   B.    Deportation Status
 18         Even if the Court considered the merits of his claim, the motion would be
 19   denied.   During the sentencing hearing, the Court rejected Defendant’s
 20   arguments for a reduced sentence based on his status as a deportable alien.
 21   The Court reaffirms its analysis. (Hr’g Tr., Doc. 293 at 46-48.) Even if the
 22   Court were to reconsider Defendant’s departure request, it would be denied on
 23   the merits. First, there is no evidence that Defendant stipulated to deportation
 24   or that the Government offered a downward departure for deportation. The
 25   Plea Agreement says nothing about a downward departure in exchange for
 26   Defendant’s agreement to be removed.        Finally, even if the parties had so
 27   stipulated, it could not have affected the sentence because Defendant is
 28   subject to a mandatory minimum—a floor impervious to a § 5K2.0 deportation

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  1   departure (as opposed to a § 5K1.1 cooperation departure). See United States
  2   v. Auld, 321F.3d 861, 867 (9th Cir. 2003); United States v. Jackson, 577 F.3d
  3   1032, 1036 (9th Cir. 2009).        This was also specifically explained at the
  4   sentencing hearing. (Hr’g Tr. at 44.)
  5   C.    Ineffective Assistance of Counsel
  6         A defendant seeking to challenge the validity of his conviction on the
  7   ground of ineffective assistance of counsel must demonstrate that his counsel's
  8   performance was deficient and that the deficiency prejudiced him. Strickland
  9   v. Washington, 466 U.S. 668, 687-89 (1984). To establish prejudice where he
 10   has pled guilty, a defendant must show a reasonable probability that "the end
 11   result of the criminal process would have been more favorable by reason of a
 12   plea to a lesser charge or a sentence of less prison time." Missouri v. Frye,
 13   ____ U.S. ____, 132 S. Ct. 1399, 1409 (2012); United States v. Pruitt, 32 F.3d
 14   431, 433 (9th Cir. 1994). As explained below, Defendant here satisfies neither
 15   prong, inter alia, because the Court was unable to depart below the mandatory
 16   minimum sentence on any ground besides cooperation.
 17         1.    Fast-Track Program
 18         Defendant flatly claims that his attorney was ineffective for failing to
 19   advise him of the option of a “fast-track” plea agreement, and also for failing to
 20   request a downward departure on the basis of aberrant behavior. Certain
 21   criminal defendants may receive a downward departure under USSG § 5K3.1
 22   after participating in the U.S. Attorney’s Office swift disposition or “fast-track”
 23   program. Here, there is no indication that Defendant was eligible for the fast-
 24   track program or that it would have helped him, since he faced a mandatory
 25   minimum sentence as explained above.
 26         2.    Aberrant Behavior
 27         The Guidelines provide for a departure based on “aberrant behavior” in
 28   exceptional circumstances. USSG § 5K2.20. Even assuming it could have

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  1   been warranted under the circumstances, that option was unavailable to
  2   Defendant here because the crime of conviction constitutes a “serious drug
  3   trafficking offense.” See U.S.S.G. § 5K2.20(c)(3) and Application Note 1;
  4   United States v. Carey, 2014 U.S. Dist. LEXIS 9844, *12 (S.D. Cal. Jan. 27,
  5   2014). Furthermore, as explained at sentencing (Hr’g Tr. at 34-35), the Court
  6   could not have departed further in this case on any ground unrelated to the
  7   defendant’s assistance to the government pursuant to 18 U.S.C. § 3553(e).
  8         The Court finds no error here, as defense counsel was under no
  9   obligation to request relief that Defendant was ineligible for. See, e.g., Juan H.
 10   v. Allen, 408 F.3d 1262, 1273 (9th Cir. 2005) (“[T]rial counsel cannot have been
 11   ineffective for failing to raise a meritless objection.”).
 12
 13                                   III. CONCLUSION
 14         For the reasons discussed above, Defendant’s motion to reduce
 15   sentence is DENIED. The Court DENIES a Certificate of Appealability. The
 16   Clerk shall enter judgment accordingly.
 17
 18         IT IS SO ORDERED.
 19
 20   DATED: June 12, 2014                    ____________________________
                                              BARRY TED MOSKOWITZ
 21                                           Chief Judge
                                              United States District Court
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